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     81,7('� 67$7(6� ',675,&7� &2857
     6287+(51�',675,&7�2)�1(:�<25.


       )UHH�+ROGLQJV�,QF                            3ODLQWLII


                                                                 �&DVH��1R        FY
                            Y
       0F&R\�HW�DO                                                     Rule 7.1 Statement

                                                    'HIHQGDQW




                     3XUVXDQW�WR�)HGHUDO�5XOH�RI�&LYLO�3URFHGXUH� �>IRUPHUO\�/RFDO
    *HQHUDO�5XOH� @�DQG�WR�HQDEOH�'LVWULFW�-XGJHV�DQG�0DJLVWUDWH�-XGJHV�RI�WKH�&RXUW
    WR�HYDOXDWH�SRVVLEOH�GLVTXDOLILFDWLRQ�RU�UHFXVDO �WKH�XQGHUVLJQHG�FRXQVHO�IRU
     Free Holdings Inc.,                                D�SULYDWH�QRQ JRYHUQPHQWDO�SDUW\

     FHUWLILHV�WKDW�WKH�IROORZLQJ�DUH�FRUSRUDWH�SDUHQWV �DIILOLDWHV�DQG RU�VXEVLGLDULHV�RI
     VDLG�SDUW\ �ZKLFK�DUH�SXEOLFO\�KHOG
     1RQH




     'DWH
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)RUP�5XOH B SGI 6'1<�:HE�
